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                        EXHIBIT 5
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From:          Brandon Boulware
To:            Bierig, Jack R.; Wahl, Suzanne L.
Cc:            Kit A. Pierson; Robert A. Braun; Matt Dameron; Jeremy Suhr; Courtney Stout
Subject:       [EXT] Sitzer/Moerhl v. NAR Search Terms
Date:          Tuesday, January 21, 2020 3:43:32 PM
Attachments:   image003.png
               Plaintiffs" Proposed NAR Search Terms.pdf


Jack and Suzanne –

Attached are proposed search terms to be used by NAR in the Sitzer and Moerhl cases. Note
the corporate defendants’ email domains need to be added. Please review and let us know if
you have any changes.

Thank you.

Brandon Boulware | Attorney
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brandon@boulware-law.com
O: (816) 492-2826
C: (816) 590-1882
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                           PROPOSED SEARCH TERMS - NAR


                            Proposed Search Strings                              Unique Hits
(ethic* or Handbook) /10 (compensat* or commission* or fee*)
offer /3 (blanket or unilateral)
“invitation*” /5 (compensat* or commission* or fee* or cooperation* or
broker* or agent* or realtor*)
(cooperative or coop or co-op) /2 (compensat* or commission* or
transaction* or relationship*)
“definite dollar amount”
compensation /10 (gross /3 price)
compensat* /5 (“cooperating broker” or “cooperating agent” or
“cooperating realtor” or “buyer broker” or “buyer agent” or “buyer realtor”)
“definite dollar amount”
compensation /10 (gross /3 price)
“multiple listing services shall not publish” or “MLS shall not publish” or
“MLSs shall not publish”
“information specifying the compensation”
(modif* or negotia* or change* or alter* or adjust*) /5 (compensat* or
commission* or fee* or unilateral*)
(subagen* or “sub-agen*” or “sub agent”) /10 (commission* or compensat*
or fee*)
(“*3-2*” or “*9-5*” or “*12-2*” or “*16-16*” or “*21-16*”) /5 (standard
or SOP)
(“*16-15*” or “*21-12*”) /5 interpretation*
“*2-G-1*”
policy /3 “7.23”
(Service* or commission* or compensation* or agent* or broker* or
realtor* or represent* or inform* or tell* or advertis*) /5 (free or “without
cost” or “no cost” or “no charge”)
Discount /5 competitor*
(Imped* or prevent* or limit* or restrain* or shield* or barrier* or crush* or
destroy* or kill* or threat* or discoura* or boycott* or commission* or
compensat* or strateg* or exclu* or defeat* or threat*) /10 (compet* or
discount* or (low* /2 cost*) or FSBO or “for sale by owner” or
[Discounter Limiter])
Boycott* or (refus* /5 deal) or (declin* /5 deal) or (refus* /5 business) or
(declin* /5 business)
Steer* /50 (buyer* or customer* or commission* or compensation*)
Fiduciar* /10 (commission* or compensation* or customer*)
(show* or screen* or filter* or discrim* or hide* or hidden* or secret* or
transparen* or shield* or withhold* or divulg* or reveal* or restric* or
search* or publish* or disclos* or sort* or exclude* or segreg* or display*)
/50 (commission* or compensation*)
“Sherman Act” or Antitrust or “anti-trust” or antimonopoly or “anti-
monopoly” or monopoly
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                           PROPOSED SEARCH TERMS - NAR


Collud* or collusion or anticompetit* or (anti /2 competit*) or uncompet*
or manipulat* or cartel* or conspir* or “price fix” or “price-fix” or (price /2
fix*)
(commission* or compensat* or pric*) /10 (increase* or maintain* or raise*
or fix* or floor* or minimum* or standard* or follow* or lead* or list* or
formula* or elevat* or overcharge* or parallel* or uniform* or artific* or
inflat* or sustain* or stabil* or stable* or imped* or obstruct* or hinder* or
establish* or block* or disturb* or high* or low* or fall* or decrease* or
pressure* or undercut* or erod* or eros* or polic* or guideline* or
brochure* or manual* or recommendation* or enforce* or control* or
monitor*)
(standard* or tradition* or market* or history* or average* or trend* or
standard* or typical* or ordinar* or common* or normal* or accepted* or
require*) /10 (commission* or compensation* or fee*)
(restrict* or curtail* or reduc* or lessen* or hinder* or hamper* or deter* or
suppress* or check* or kill* or harness* or “keep in line” or limit* or
protect* or slow* or break* or prevent* or constrain* or control* or “hold
the line” or elimin* or undermin* or harm*) /10 (competit* or suppl* or
price* or volume* or market* or mkt* or share* or product* or territory* or
margin*)
(Meet* or mtg* or discuss* or gather* or consult* or confer* or consult* or
visit* or inform* or lunch* or dinner* or drink* or restaurant* or “get
together” or chat* or talk* or “reach out” or ask* or communicat* or text*
or messag* or msg* or breakfast* or fly* or jet* or friend* or note* or
minute* or check* or confirm* or call* or email* or golf* or agree* or
collu* or compet* or promise* or “work together” or coordinat* or
understand* or deal* or harmon* or arrang*) /20 (commission* or price* or
compensat* or discount* or income* or profit* or suppl* or [Defendant
Limiters] or [Discount Competitor Limiters])
“Won’t compete” or “don’t compete” or “will not compete” or “do not
compete” or “shouldn’t compete” or “should not compete” or “cannot
compete” or “can’t compete”
Negotia* /5 (discourag* or limit* or prevent* or stop* or end* or reduc* or
inhibit* or refus* or declin* or restrict* or imped* or kill* or curb* or
curtail*)
(Non* or avoid* or exclu*) /5 compet*
(*tacit* or unspoken* or impl* or unwritten* or “not in writing”) /10
(agree* or rule or understand* or deal* or arrangement*)
“Play by the rules” or “play nice” or “get along” or “work* together” or
“Create waves” or “rock the boat” or “Back channel” or “backroom*” or
“common understanding”
(Gentle* or handshake or unofficial) /3 (agreement* or rule or understand*
or deal* or arrangement*)
Cheat* or dishon* or *ethical or traitor* or suspect* or suspici* or steal* or
stole* or retaliat*
Standard* /5 (agreement* or listing* or contract*)
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                           PROPOSED SEARCH TERMS - NAR


(“Work together” or ally or allies or alliance* or cooperat* or “work with”
or collaborat* or consensus* or decide* or strateg* or policy or follow* or
moratorium* or tacit or understand*) /50 (competit* or [Defendant
Limiters])
DOJ or “Justice Department” or “Department of Justice” or FTC* or
“Federal Trade Commission” or usdoj* or *@usdoj.gov* or *@ftc.gov* or
“Grand jury” or (Competiti* /2 (law* or authorit*))
Investigat* or raid* or probe* or prosecut* or “civil investigative demand”
or CID or subpoena* or deposition* or compliance
(Secret or secrecy or unofficial or confidential or closed) /10 (meet* or
discuss* or conferenc* or call* or mtg or session or report* or info* or
strategy*)
“hush hush” or hold back” or “cover up”
“Handle with care” or (Eye* /2 only) or FYO or (internal /5 only)
(“Do not” or “must not” or “should not” or “may not” or can’t or don’t or
cannot) /5 (forward* or disclos* or copy or shar* or tell or repeat or talk or
send or circulate)
“forwarding prohibited” or “FWD prohibited” or “forwarding is prohibited”
or “forwarding is strictly prohibited” or “not for forwarding” or “not to be
forwarded” or “not for circulation” or “not to be circulated” or “not for
sharing” or “not to be shared” or “not for disclosure” or “not to be
disclosed”
(Destroy* or delet* or discard* or burn* or destruct* or dispos* or preserv*
or retain* or rid* or elim*) /10 (file* or document* or server* or computer*
or *mail* or paper* or copy or copies or data or binder* or after or read* or
evidence or message* or text* or note* or email* or informat* or
communicat* or msg*)
Untraceable* or “non-traceable” or whatsapp or telegram or threema or
cyphr or viber or wickr or signal
(commission* or compensation* or fee* or profit* or margin* or minutes or
notes or record or recording or (member* /2 list)) and (“the hub” or “realtor
magazine” or “realtor university” or “legal pulse” or “board of directors” or
“executive committee” or “large residential firms” or “top 75” or “large
firm*” or (“multiple listing” /2 committee) or “professional standards
committee” or “professional standards forum” or “presidential advisory” or
“past presidents*” or “strategic thinking” or “state & local issues” or “state
and local issues” or (“state leadership” /3 council*) or “regulatory issues” or
“residential economic issues” or “risk management” or “public policy
coordinating” or “multiple listing issues” or “multiple listing service” or
“mega board forum” or “large board forum” or “medium board forum” or
“legal action committee” or “MLS technology” or “leading edge advisory”
or “idea exchange council” or “federal legislation & political” or “federal
legislation and political” or “data strategies” or “consumer communications
committee” or “broker engagement committee” or “broker engagement
council” or “association executives committee” or “AE forum” or
“leadership team” or “delegate body”)
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                           PROPOSED SEARCH TERMS - NAR


(Train* or class* or script* or model* or manual* or report* or university or
course* or education) /50 (commission* or compensate* or fee* or ethic* or
advertis* or “without cost” or “no cost”)
(Require* or mandat* or compel*) /15 (member* or particip* or involve*)
/15 (MLS* or “multiple listing” or “state board” or “state association” or
“state realtor*” or “local board*” or “local association*” or “local realtor*”)
(state board” or “state association” or “state realtor*” or “local board*” or
“local association*” or “local realtor*”) /15 (power* or control* or
authorit* or require* or mandat*) /15 (NAR or “national association”)
CMLS or “Council of Multiple Listing Service*” or “Council on Multiple
List Service*”
(MLS* or “multiple listing”) /10 (benefit* or advantage* or power* or
control* or compet* or discount* or “limited service” or alternative* or
“cease and desist” or enforce*)
MLS /10 (“copyright* or distribut* or sell* or sale* or resell* or resale* or
syndic*) /10 (limit* or restrict* or prohibit*)
(Commission* or compensation*) /50 ([MLS Limiters] or [MLS Vendor
Limiters])
(“National association” or NAR or (Association /2 Realtors)) /20
(participat* or donat* or contrib* or active* or shap* or lead* or enforc* or
follow* or compl* or implement* or join* or member* or abid* or attend*
or “take part in”) /20 [Defendant Limiters]
(share* or market or trend* or strategy* or data or report* or analys* or
study* or studies or statistic*) /25 (discount* or “limited service” or MLS
or FSBO or “sale by owner” or volume* or “online brokerage” or “social
media” or [Discounter Limiters])
(commission* or compensation* or fee* or share* or market or expens* or
(split* /4 (broker*) or (split* /4 agent*) or “sales price” or “asking price” or
“days on market” or labor) /30 (data or statistic* or record* or summar* or
report* or trend* or scale* or outlook* or forecast* or study or studies or
analys* or strategy*)
(Business or strateg* or marketing* or annual or quarterly or monthly) /5
(plan* or report* or outlook* or strateg* or intelligence or analysis or
analyses or data)
(study* or studies or analyses or analysis or report* or data) /10 (competit*
or share or market or position* or rank* or advertis*)
(pric* or profit* or cost* or revenue* or margin* or loss* or supply or sale*
or demand* or capacity or volume*) /25 (manual* or report* or forecast* or
project* or estimate* or actual* or statistic* or trend* or outlook*)
“financial statement*” or “annual report”
Disintermediat*
Competitiv* /10 (intel* or info*)
(broker* or realtor* or agent*) /20 (glut* or overhang* or overcapacity* or
surplus or collapse* or excess* or “bottom line” or oversuppl* or salar* or
income* or wage* or “hours worked” or schedule)
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                               PROPOSED SEARCH TERMS - NAR


    (foreign or international or “other countr*” or global or England or UK or
    “united kingdom” or Germany or Israel or Australia or “New Zealand” or
    “Hong Kong” or Singapore or Denmark or Ireland or Netherlands or
    Sweden or Belgium or Finland or Turkey) /10 (commission* or fee* or
    compensation* or *income)
    Cost* /5 (fall* or decreas* or technology or lower* or plung* or tumbl* or
    sink*)
    (Danger or d.a.n.g.e.r. or “definitive analysis of negative”) /5 (report or
    study or *paper or summar* or ppt* or powerpoint* or slide* or deck* or
    present* or meeting* or interview* or call* or note* or research*)
    commission* /5 (spiral* or *critical or collapse*)
    Commission* /10 game /2 change*
    “NAR member profile” or “Answer Book” or “aspiring home buyers
    profile” or “home opportunity and marker experience” or “profile of home
    buyers” or “buyer bios” or “home buyer and seller generational trends” or
    “confidence index” or “foot traffic” or “profile of real estate firms” or
    “teams survey” or “real estate in a digital age” or “technology survey”
    (Housing or sales) /5 index
    “real estate” /5 outlook
    Org* /5 (chart or graph)
    Employee* /5 director*
    (realtor* or agent*) /10 (value or benefit*)
    Moehrl* or meorl or (Michael /2 Cole) or (Mike /2 Cole) or (Jack* /2
    Ramey) or (Dan* /2 Umpa) or (Steve* /2 Darnell) or (Valerie /2 Nager) or
    (Jane /2 Ruh) or Sitzer or (Scott /2 burnett) or (Rhonda /2 burnett) or (ryan
    /2 hendrickson)
    (Missouri /2 (case* or *suit* or action)) or (Illinois /2 (case* or *suit* or
    action)) or “class action*”
    Susman or Cohen or Hagens or Boulware or “williams dirks” or dameron
    (adversary* or buyer*) /2 commission* /2 rule
    (Complain* or critic* or problem* or object* or gripe*) /10 (pric* or
    commission* or compensate* or fee*)
    (Commission* or compensation* or MLS*) /50 (lobby* or law* or
    Congress* or legislat* or statute* or marketing or “public relation*” or
    consult* or sentat* or *@house.gov* or *@senate.gov*)
    (WSJ* or “wall street journal” or NYT or “New York Times” or inman or
    “law 360” or “law360” or “KC star” or “Kansas city star”) /10
    (commission* or compensation* or fee*)
    Brobeck or CFA or “Consumer Federation” or “realtor racket” or Nagalski
    or Pathak or Parag or “Nine Pillars” or (Doug* /2 miller*) or “Peng Liu” or
    Delcoure or (Norm* /2 miller) or barwick or Hsieh /5 moretti or “Factor
    that May Affect Price Competition”

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                        PROPOSED SEARCH TERMS - NAR


EXHIBIT A: Defendant Limiters
Remax*
Re/Max*

Keller*
KW

Realogy*
“Century 21*”
Coldwell*
“Better Homes”
Corcoran*
ERA
Sotheby*
NRT*
ZipRealty*
“Citi Habitats”

Homeservice*
Long /2 Foster*
L&F*
Berkshire
“Fox and roach”
“Fox & roach”
Evers
“Virginia properties”
“Carolinas realty”
Fonville
“York simpson”
Yost
Huff
Firstweber
Edina
“Reece Nichols”
ReeceNichols
“long realty”
Kentwood
“ebby halliday”
“allie beth”
Alliebeth
“dave perry”
“perry-miller”
“perry miller”
HSA
HSF*
BHH*
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                        PROPOSED SEARCH TERMS - NAR


“Real Living”
Prudential*
“Region* Service*”
RSI

ADD EMAIL EXTENSIONS FOR EACH DEFENDANT

EXHIBIT B: MLS Limiters
Stellar
“My Florida”
MFR
Columbus /2” Central Ohio”
Yes /2 MLS
“Northern Ohio Regional”
NORMLS*
Realcomp*
Metro /3 MLS
Northstar*
“North Texas Real”
NTREIS*
ACTRIS*
“Austin MLS”
HAR
HARMLS*
GLVAR*
ARMLS
“Arizona Regional”
SABOR*
“San Antonio” /2 MLS
REColorado*
Colorado /2 MLS
PPAR*
“Pikes Peak” /2 MLS
WFRMLS
“Wasatch Front”
FGCMLS*
“Florida Gulf” /3 MLS
SWFL*
Miami /2 MLS
Canopy /2 MLS
Charlotte /2 MLS
CMLS
Bright
Carolina /2 MLS
NCMMLS
“Triangle MLS”
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                         PROPOSED SEARCH TERMS - NAR


TMLS
MRIS
TREND
GHAR
RAYAC
Coastal /2 MLS
Sussex /2 MLS
Cumberland /4 BOR
“Northwest MLS”
“NWMLS”
“Northwest Multiple”
Heartland
“Kansas City” /2 MLS
(“KC” or “K C”) /2 MLS
Kansas /2 MLS
Missouri /2 MLS
“St. Louis” /2 MLS
“Saint Louis” /2 MLS
Stl /2 MLS
Mid-America
“mid America”
midamerica
MARIS
Illinois /2 MLS
Springfield /2 MLS
“southern region*” /s MLS
“Southern Missouri region*”
SMR
Columbia /2 MLS
Columbia /2 (board or bd*)
CBOR

EXHIBIT C: MLS Vendor Limiters
FlexMLS
Corelogic
FBS
dynaConnections
connectMLS
“Black knight”
Remine

EXHIBIT D: Discounter Limiters
Zillow
Redfin
Trelora
FSBO
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                       PROPOSED SEARCH TERMS - NAR


Helpusell
Listforless
Opendoor
Trulia
Neighborcity
Yoreevo
“homebuyer advisors”
“schatz group”
Buyself*
Listwithclever*
Upnest*
Offerpad*
Foresalebyowner*
Buyhomes.com
“penny broker”
“john penne”
REX
Surefield
Ibuyer*
Assist2sell
“Assist-2-sell”
“Assist-to-sell”
